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                                                          APPEAL,CLOSED,E−FILE,PROSE−NP,TYPE−F
                                    U.S. District Court
                         District of Columbia (Washington, DC)
                    CIVIL DOCKET FOR CASE #: 1:19−cv−02316−RC
                                     Internal Use Only

 CARMICHAEL v. POMPEO                                          Date Filed: 07/31/2019
 Assigned to: Judge Rudolph Contreras                          Date Terminated: 03/28/2023
 Case in other court: USCA for the DC Circuit, 22−05143        Jury Demand: None
                      USCA, 23−05111                           Nature of Suit: 440 Civil Rights: Other
                                                               Jurisdiction: U.S. Government Defendant
 Cause: 42:1981 Civil Rights
 Plaintiff
 DAVID ALAN CARMICHAEL                         represented by DAVID ALAN CARMICHAEL
                                                              1748 Old Buckroe Road
                                                              Hampton, VA 23664
                                                              757−850−2672
                                                              Email: david@freedomministries.life
                                                              PRO SE

 Plaintiff
 LAWRENCE DONALD LEWIS                         represented by LAWRENCE DONALD LEWIS
                                                              966 Bourbon Lane
                                                              Nordman, ID 83848
                                                              PRO SE

 Plaintiff
 WILLIAM PAKOSZ                                represented by WILLIAM PAKOSZ
                                                              Box 25
                                                              Matteson, IL 60443
                                                              PRO SE


 V.
 Defendant
 MICHAEL R. POMPEO                             represented by Christopher Charles Hair
 in his official capacity as Secretary of                     U.S. ATTORNEY'S OFFICE FOR THE
 State, of the United States of America                       DISTRICT OF COLUMBIA
                                                              555 Fourth Street, NW
                                                              Washington, DC 20530
                                                              (202) 252−2541
                                                              Fax: (202) 252−2599
                                                              Email: christopher.hair@usdoj.gov
                                                              TERMINATED: 04/07/2022
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                               Stephen DeGenaro

                                                                                                         1
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                                                        U.S. ATTORNEY'S OFFICE FOR THE
                                                        DISTRICT OF COLUMBIA
                                                        601 D Street, NW
                                                        Washington, DC 20530
                                                        (202) 252−7229
                                                        Fax: (202) 252−2599
                                                        Email: Stephen.DeGenaro@usdoj.gov
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

 Defendant
 UNITED STATES OF AMERICA                 represented by Christopher Charles Hair
                                                         (See above for address)
                                                         TERMINATED: 04/07/2022
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Stephen DeGenaro
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

 Defendant
 UNITED STATES DEPARTMENT                 represented by Christopher Charles Hair
 OF STATE                                                (See above for address)
 TERMINATED: 12/03/2019                                  TERMINATED: 04/07/2022
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Stephen DeGenaro
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

 Movant
 MICHELLE BOULTON                         represented by MICHELLE BOULTON
 TERMINATED: 03/25/2022                                  8491 Hospital Dr.
                                                         #178
                                                         Douglasville, GA 30134−2412
                                                         (770) 315−5724
                                                         PRO SE


  Date Filed   #   Docket Text
  07/31/2019   1   COMPLAINT against MICHAEL RICHARD POMPEO (Filing fee $ 400, receipt
                   number 4616100029) filed by DAVID ALAN CARMICHAEL. (Attachment: # 1
                   Civil Cover Sheet) (tth) (Entered: 08/05/2019)
  07/31/2019       SUMMONS Not Issued as to MICHAEL RICHARD POMPEO. (tth) (Entered:
                   08/05/2019)


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  08/23/2019    2   LEAVE TO FILE DENIED − Notice of Lawsuit and Request to Waive Service of a
                    Summons, and Waiver of the Service Summons. This document is unavailable as the
                    Court denied its filing. "Leave to File Denied. The parties may not communicate with
                    the Court by letter. Local Rules. In order to effect service, plaintiff must request
                    summonses from the Clerk's Office, and serve the United States pursuant to
                    Fed.R.Civ.P. 4 (i), including in this case, service on Department of State, Department
                    of Justice, Attorney General, and U.S. Attorney's Office for the District of Columbia
                    Attention Civil Process Clerk. A plaintiff may not use the waiver of service provisions
                    to serve the United States." Signed by Judge Rudolph Contreras on 8/23/2019. (ztth)
                    (Entered: 08/28/2019)
  09/09/2019        SUMMONS (3) Issued as to MICHAEL RICHARD POMPEO, U.S. Attorney and
                    U.S. Attorney General. (ztth) (Entered: 09/09/2019)
  09/19/2019    3   MOTION to Amend/Correct 1 Complaint by DAVID ALAN CARMICHAEL
                    (Attachments: # 1 Summons)(ztd) (Entered: 09/25/2019)
  09/20/2019    4   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                    MICHAEL RICHARD POMPEO served on 9/13/2019; UNITED STATES OF
                    AMERICA served on 9/13/2019, RETURN OF SERVICE/AFFIDAVIT of Summons
                    and Complaint Executed on United States Attorney General. Date of Service Upon
                    United States Attorney General 9/13/19., RETURN OF SERVICE/AFFIDAVIT of
                    Summons and Complaint Executed as to the United States Attorney. Date of Service
                    Upon United States Attorney on 9/13/2019. ( Answer due for ALL FEDERAL
                    DEFENDANTS by 11/12/2019.) (ztd) (Entered: 09/25/2019)
  09/24/2019    5   MOTION for Joinder by DAVID ALAN CARMICHAEL. (Attachment: # 1 Text of
                    Proposed Order) (ztth) (Entered: 09/26/2019)
  09/27/2019    6   MOTION for Joinder by DAVID ALAN CARMICHAEL. (Attachments: # 1 Text of
                    Proposed Order, # 2 Exhibit − Attachment) (ztth) (Entered: 10/01/2019)
  11/12/2019    7   NOTICE of Appearance by Christopher Charles Hair on behalf of MICHAEL
                    RICHARD POMPEO, UNITED STATES OF AMERICA (Hair, Christopher)
                    (Entered: 11/12/2019)
  11/12/2019    8   RESPONSE re 3 MOTION to Amend/Correct 1 Complaint, 6 MOTION for Joinder, 5
                    MOTION for Joinder filed by MICHAEL RICHARD POMPEO, UNITED STATES
                    OF AMERICA. (Hair, Christopher) (Entered: 11/12/2019)
  11/12/2019    9   MOTION for Extension of Time to File Answer re 1 Complaint by MICHAEL
                    RICHARD POMPEO, UNITED STATES OF AMERICA (Hair, Christopher)
                    (Entered: 11/12/2019)
  11/14/2019   10   Memorandum in opposition re 9 MOTION for Extension of Time to File Answer re 1
                    Complaint filed by DAVID ALAN CARMICHAEL. (jf) (Main Document 10
                    replaced on 11/19/2019) (zjf). (Entered: 11/19/2019)
  11/20/2019   11   ORDER granting 3 Plaintiff's motion to amend; granting 5 6 Plaintiff's motions to join
                    plaintiffs; denying as moot 9 Defendant's motion for extension of time; and denying
                    10 Plaintiff's request for default. See document for details. Signed by Judge Rudolph
                    Contreras on November 20, 2019. (lcrc3) (Entered: 11/20/2019)
  11/25/2019   13   Memorandum in opposition to re 9 MOTION for Extension of Time to File Answer re
                    1 Complaint filed by DAVID ALAN CARMICHAEL. (ztd) (Entered: 11/27/2019)


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  11/25/2019   14   MOTION MOTION for Order to deny by DAVID ALAN CARMICHAEL MOTION
                    for Entry of Default by DAVID ALAN CARMICHAEL. (ztd) (See docket entry no.l
                    13 to view.) Modified event and date filed on 12/2/2019 (znmw). (Entered:
                    11/27/2019)
  11/26/2019   12   RESPONSE TO ORDER OF THE COURT re 11 Order, filed by DAVID ALAN
                    CARMICHAEL. (eg) (Entered: 11/27/2019)
  12/03/2019        Summons (1) Issued as to UNITED STATES DEPARTMENT OF STATE. (ztth)
                    (Entered: 12/03/2019)
  12/03/2019   15   AMENDED COMPLAINT against MICHAEL RICHARD POMPEO, UNITED
                    STATES OF AMERICA filed by DAVID ALAN CARMICHAEL.(ztd) (Entered:
                    12/05/2019)
  12/15/2019   17   LEAVE TO FILE DENIED − Lawrence Donald Lewis, Plaintiff Lawrence Donald
                    Lewis Objection to Defendant's Motion for Additional Time to Respond to Original
                    and Amended Complaint This document is unavailable as the Court denied its filing.
                    "LEAVE TO FILE DENIED FILER WAS NOT PARTY AT TIME OF
                    SUBMISSION". Signed by Judge Rudolph Contreras on 12/15/2019. (ztth) (Entered:
                    12/18/2019)
  12/15/2019   18   LEAVE TO FILE DENIED − William Mitchell Pakosz, Plaintiff William Mitchell
                    Pakosz Objection to Defendant's Motion for Additional Time to Respond to Original
                    and Amended Complaint. This document is unavailable as the Court denied its filing.
                    "LEAVE TO FILE DENIED Movant was not a party to case at time of submission."
                    Signed by Judge Rudolph Contreras on 12/15/2019. (ztth) (Entered: 12/18/2019)
  12/17/2019   16   Letter from David Alan Carmichael. "LET THIS BE FILED" by Judge Rudolph
                    Contreras on 12/17/2019. (ztth) (Entered: 12/18/2019)
  12/19/2019   19   MOTION for Extension of Time to File Answer re 15 Amended Complaint by
                    MICHAEL RICHARD POMPEO, UNITED STATES DEPARTMENT OF STATE,
                    UNITED STATES OF AMERICA (Hair, Christopher) (Entered: 12/19/2019)
  12/27/2019   20   Memorandum in opposition to re 19 MOTION for Extension of Time to File Answer
                    re 15 Amended Complaint filed by DAVID ALAN CARMICHAEL. (ztd) Modified
                    date filed on 1/2/2020 (ztd). (Entered: 12/31/2019)
  01/06/2020   21   MOTION to Amend/Correct by DAVID ALAN CARMICHAEL. (ztth) (Entered:
                    01/08/2020)
  01/07/2020   22   Letter from William Mitchell Pakosz. "LET THIS BE FILED" by Judge Rudolph
                    Contreras on 1/7/2020. (ztth) (Entered: 01/09/2020)
  01/10/2020   23   MOTION for CM/ECF Password by DAVID ALAN CARMICHAEL. (ztth)
                    (Entered: 01/14/2020)
  01/14/2020        MINUTE ORDER: Upon consideration of 19 Defendants' motion for extension of
                    time and Plaintiffs' objection to that motion, it is hereby ORDERED that 19 the
                    motion is GRANTED. It is FURTHER ORDERED that Defendants shall file their
                    response to Plaintiffs' amended complaint by January 20, 2020. SO ORDERED.
                    Signed by Judge Rudolph Contreras on January 14, 2020. (lcrc3) (Entered:
                    01/14/2020)
  01/14/2020


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                    Set/Reset Deadlines: Response to amended complaint due by 1/20/2020 (tj) (Entered:
                    01/14/2020)
  01/17/2020   24   MOTION to Dismiss Or, In The Alternative, For Summary Judgment by MICHAEL
                    RICHARD POMPEO (Attachments: # 1 Memorandum in Support, # 2 Declaration of
                    Jonathan Roblin, # 3 Declaration Florence Fultz, # 4 Text of Proposed Order)(Hair,
                    Christopher). Added MOTION for Summary Judgment on 1/24/2020 (jf). (Entered:
                    01/17/2020)
  01/22/2020   25   FOX/NEAL ORDER advising Plaintiffs to respond, on or before February 21, 2020,
                    to 24 the Government's motion to dismiss, or the Court may deem the motion
                    conceded. See document for details. Signed by Judge Rudolph Contreras on January
                    22, 2020. (lcrc3) (Entered: 01/22/2020)
  01/22/2020        Set/Reset Deadlines: Responses due by 2/21/2020 (tj) (Entered: 01/22/2020)
  02/20/2020   26   Mail Returned as Undeliverable/Refused; Sent to David Alan Charmichael, 1748 Old
                    Buckroe Road, Hampton, VA 23664; Type of Document Returned: Order dated
                    1/22/2020; No Forwarding address provided. (tj) (Entered: 02/20/2020)
  02/24/2020   27   RESPONSE re 24 MOTION to Dismiss Or, In The Alternative, For Summary
                    Judgment MOTION for Summary Judgment filed by DAVID ALAN
                    CARMICHAEL, LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ.
                    (Attachments: # 1 Memorandum in Support, # 2 Statement of Disputed Facts, # 3
                    Submission of Undisputed or Uncontroverted Facts Relevant to the First Cause of
                    Action, # 4 Text of Proposed Order) (ztth) (Entered: 02/26/2020)
  02/24/2020   28   Cross MOTION for Declaratory Partial Summary Judgment, MOTION for Injunction
                    on the First Cause of Action by DAVID ALAN CARMICHAEL, LAWRENCE
                    DONALD LEWIS, WILLIAM PAKOSZ. (See Docket Entry 27 to view document)
                    (ztth) (Entered: 02/26/2020)
  03/04/2020   29   Unopposed MOTION for Extension of Time to File Response/Reply as to 24
                    MOTION to Dismiss Or, In The Alternative, For Summary Judgment MOTION for
                    Summary Judgment, 28 MOTION for Partial Summary Judgment MOTION for
                    Preliminary Injunction by MICHAEL RICHARD POMPEO, UNITED STATES
                    DEPARTMENT OF STATE, UNITED STATES OF AMERICA (Hair, Christopher)
                    (Entered: 03/04/2020)
  03/04/2020        MINUTE ORDER granting 29 Defendants' motion for extension of time. It is hereby
                    ORDERED that Defendants shall file their combined reply in support of their motion
                    to dismiss or, in the alternative, for summary judgment, and opposition to Plaintiffs'
                    motion for partial summary judgment by March 25, 2020. SO ORDERED. Signed by
                    Judge Rudolph Contreras on March 4, 2020. (lcrc3) (Entered: 03/04/2020)
  03/20/2020        Set/Reset Deadlines: Replies due by 3/25/2020. (tj) (Entered: 03/20/2020)
  03/25/2020   30   REPLY to opposition to motion re 24 MOTION to Dismiss Or, In The Alternative,
                    For Summary Judgment MOTION for Summary Judgment filed by MICHAEL
                    RICHARD POMPEO, UNITED STATES OF AMERICA. (Hair, Christopher)
                    (Entered: 03/25/2020)
  03/25/2020   31   Memorandum in opposition to re 28 MOTION for Partial Summary Judgment
                    MOTION for Preliminary Injunction filed by MICHAEL RICHARD POMPEO,
                    UNITED STATES OF AMERICA. (Hair, Christopher) (Entered: 03/25/2020)


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  04/02/2020   32   ERRATA by DAVID ALAN CARMICHAEL, LAWRENCE DONALD LEWIS,
                    WILLIAM PAKOSZ re 27 Response to motion, filed by DAVID ALAN
                    CARMICHAEL, WILLIAM PAKOSZ, LAWRENCE DONALD LEWIS.
                    (Attachment: # 1 Exhibit − Attachment) (ztth) (Entered: 04/06/2020)
  04/06/2020   33   MOTION to Add to Record as Evidence by DAVID ALAN CARMICHAEL.
                    (Attachment: # 1 Certificate of Service) (ztth) Modified event title on 4/13/2020
                    (znmw). (Entered: 04/09/2020)
  04/06/2020   34   REPLY to opposition to motion re 28 MOTION for Partial Summary Judgment
                    MOTION for Preliminary Injunction filed by DAVID ALAN CARMICHAEL,
                    LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ. (ztth) (Entered: 04/09/2020)
  04/10/2020   35   AMENDED REPLY to opposition to motion re 28 MOTION for Partial Summary
                    Judgment MOTION for Preliminary Injunction filed by DAVID ALAN
                    CARMICHAEL, LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ. (ztth)
                    (Additional attachment(s) added on 4/13/2020: # 1 Exhibit Addendums 1−3) (ztth).
                    (Entered: 04/13/2020)
  04/10/2020   36   MOTION to Add to Record as Evidence by DAVID ALAN CARMICHAEL,
                    LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ. (See Addendums 1−3 of
                    Docket Entry 35 to view document). (ztth) (Entered: 04/13/2020)
  04/10/2020   37   MOTION for Hearing by DAVID ALAN CARMICHAEL, LAWRENCE DONALD
                    LEWIS, WILLIAM PAKOSZ. (ztth) (Entered: 04/13/2020)
  04/10/2020   38   ERRATA by DAVID ALAN CARMICHAEL, LAWRENCE DONALD LEWIS,
                    WILLIAM PAKOSZ re 34 Reply to opposition to Motion filed by DAVID ALAN
                    CARMICHAEL, WILLIAM PAKOSZ, LAWRENCE DONALD LEWIS.
                    (Attachment: # 1 Exhibit − Attachment) (ztth) (Entered: 04/13/2020)
  04/10/2020   40   MOTION to Compel by DAVID ALAN CARMICHAEL, LAWRENCE DONALD
                    LEWIS, WILLIAM PAKOSZ (Attachment: # 1 Exhibit − Attachments 1 − 3) (ztth)
                    (Entered: 04/16/2020)
  04/12/2020   39   ERRATA by DAVID ALAN CARMICHAEL, LAWRENCE DONALD LEWIS,
                    WILLIAM PAKOSZ 34 Reply to opposition to Motion filed by DAVID ALAN
                    CARMICHAEL, WILLIAM PAKOSZ, LAWRENCE DONALD LEWIS.
                    (Attachment: # 1 Exhibit − Cover Sheet) (ztth) (Entered: 04/13/2020)
  04/30/2020   41   Memorandum in opposition to re 40 MOTION to Compel filed by MICHAEL R.
                    POMPEO, UNITED STATES DEPARTMENT OF STATE. (Hair, Christopher)
                    (Entered: 04/30/2020)
  05/04/2020   42   REPLY to opposition to motion re 40 MOTION to Compel filed by DAVID ALAN
                    CARMICHAEL, LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ. (ztth)
                    (Entered: 05/04/2020)
  06/22/2020   43   NOTICE by DAVID ALAN CARMICHAEL. (ztth) (Entered: 06/25/2020)
  08/28/2020   44   ORDER granting in part and denying in part 24 Defendants' Motion to Dismiss;
                    denying 24 Defendants' Motion for Summary Judgment; denying 28 Plaintiffs' Motion
                    for Partial Summary Judgment and Injunction; denying 14 , 21 , 23 , 33 , 36 , 37 , 40
                    Plaintiffs' other pending motions. See document for details. Signed by Judge Rudolph
                    Contreras on 08/28/2020. (lcrc3) (Entered: 08/28/2020)



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  08/28/2020   45   MEMORANDUM OPINION granting in part and denying in part 24 Defendants'
                    Motion to Dismiss; denying 24 Defendants' Motion for Summary Judgment; denying
                    28 Plaintiffs' Motion for Partial Summary Judgment and Injunction; denying 14 , 21 ,
                    23 , 33 , 36 , 37 , 40 Plaintiffs' other pending motions. See document for details.
                    Signed by Judge Rudolph Contreras on 08/28/2020. (lcrc3) (Entered: 08/28/2020)
  09/30/2020   46   MOTION to Amend Complaint by DAVID ALAN CARMICHAEL (Attachments: #
                    1 Memorandum in Support, # 2 Exhibit)(zrdj) (Additional attachment(s) added on
                    10/20/2020: # 3 Exhibit Amended Complaint) (zjf). (Entered: 10/02/2020)
  10/02/2020        MINUTE ORDER: Upon consideration of 46 Plaintiffs' Motion to Amend Complaint,
                    the Court notes that Local Rule 7(i) states that "[a] motion for leave to file an
                    amended pleading shall be accompanied by an original of the proposed pleading as
                    amended." D.D.C. Civ. R. 7(i). Similarly, Local Rule 15.1 states that "[a] motion for
                    leave to file an amended pleading shall attach, as an exhibit, a copy of the proposed
                    pleading as amended." D.D.C. Civ. R. 15.1. Accordingly, it is hereby ORDERED that
                    Plaintiffs shall make a filing that complies with the Local Rules on or before October
                    23, 2020. SO ORDERED. Signed by Judge Rudolph Contreras on 10/2/2020. (lcrc3)
                    (Entered: 10/02/2020)
  10/02/2020   47   Remonstrance, Objections, And Preservation of Error Regarding The Dismissal
                    Opinion And Memorandum Of August 31, 2020 by DAVID ALAN CARMICHAEL
                    (zrdj) (Entered: 10/05/2020)
  10/08/2020        Set/Reset Deadlines: Plaintiffs filing due by 10/23/2020. (tj) (Entered: 10/08/2020)
  10/20/2020   48   Letter to the Court from David Alan Carmichael "LET THIS BE FILED", Signed by
                    Judge Rudolph Contreras on 10/20/2020(zrdj) (Entered: 10/20/2020)
  10/22/2020   49   NOTICE by DAVID ALAN CARMICHAEL (zrdj) (Entered: 10/23/2020)
  10/28/2020        MINUTE ORDER: It is hereby ORDERED that Defendants shall file their response
                    to 46 Plaintiffs' Motion to Amend on or before November 11, 2020. SO ORDERED.
                    Signed by Judge Rudolph Contreras on 10/28/2020. (lcrc3) (Entered: 10/28/2020)
  10/28/2020        Set/Reset Deadlines: Responses due by 11/11/2020. (tj) (Entered: 10/28/2020)
  11/11/2020   50   RESPONSE re 46 MOTION to Amend/Correct filed by MICHAEL R. POMPEO,
                    UNITED STATES DEPARTMENT OF STATE, UNITED STATES OF AMERICA.
                    (Hair, Christopher) (Entered: 11/11/2020)
  11/11/2020        MINUTE ORDER granting 46 Plaintiffs' Motion to Amend Complaint. It is hereby
                    ORDERED that Plaintiffs' Amended Complaint, ECF No. 46−3, shall be docketed.
                    Upon consideration of 50 Defendants' Response to Plaintiffs' Motion to Amend, it is
                    FURTHER ORDERED that the parties shall submit a joint status report, on or before
                    December 4, 2020, that proposes a schedule for further proceedings, including
                    Defendants' request for a remand and Defendants' response to the amended complaint.
                    It is FURTHER ORDERED that Defendants' deadline to respond to the amended
                    complaint shall be STAYED pending further order of the Court. SO ORDERED.
                    Signed by Judge Rudolph Contreras on 11/11/2020. (lcrc3) (Entered: 11/11/2020)
  11/11/2020   51   AMENDED COMPLAINT against MICHAEL R. POMPEO, UNITED STATES OF
                    AMERICA filed by DAVID ALAN CARMICHAEL. (ztth) (Entered: 11/13/2020)
  11/12/2020        Set/Reset Deadlines: Status Report due by 12/4/2020. (tj) (Entered: 11/12/2020)



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  12/03/2020   53   NOTICE by WILLIAM PAKOSZ. (ztth) (Entered: 12/07/2020)
  12/03/2020   55   MOTION for Rule 16(b) Scheduling Conference by DAVID ALAN CARMICHAEL,
                    LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ. (ztth) (Entered: 12/07/2020)
  12/03/2020   56   NOTICE by LAWRENCE DONALD LEWIS. (ztth) (Entered: 12/07/2020)
  12/03/2020   57   NOTICE by DAVID ALAN CARMICHAEL. (ztth) (Entered: 12/07/2020)
  12/03/2020   58   MOTION for Order to Show Cause by WILLIAM PAKOSZ. (See Docket Entry 53 to
                    view document) (ztth) (Entered: 12/08/2020)
  12/03/2020   59   MOTION for Order to Show Cause by LAWRENCE DONALD LEWIS. (See Docket
                    Entry 56 to view document) (ztth) (Entered: 12/08/2020)
  12/03/2020   60   MOTION for Order to Show Cause by DAVID ALAN CARMICHAEL. (See Docket
                    Entry 57 to view document) (ztth) (Entered: 12/08/2020)
  12/04/2020   52   STATUS REPORT by MICHAEL R. POMPEO, UNITED STATES OF AMERICA.
                    (Hair, Christopher) (Entered: 12/04/2020)
  12/07/2020   54   STATUS REPORT by DAVID ALAN CARMICHAEL, LAWRENCE DONALD
                    LEWIS. (ztth) (Entered: 12/07/2020)
  12/18/2020   61   MOTION to Remand to U.S. Department of State And To Stay Proceedings by
                    MICHAEL R. POMPEO, UNITED STATES DEPARTMENT OF STATE, UNITED
                    STATES OF AMERICA (Hair, Christopher) (Entered: 12/18/2020)
  12/18/2020   62   CERTIFICATE OF SERVICE by MICHAEL R. POMPEO, UNITED STATES
                    DEPARTMENT OF STATE, UNITED STATES OF AMERICA re 61 MOTION to
                    Remand to U.S. Department of State And To Stay Proceedings . (Hair, Christopher)
                    (Entered: 12/18/2020)
  12/21/2020   63   Memorandum in opposition to 52 STATUS REPORT filed by DAVID ALAN
                    CARMICHAEL, LAWRENCE DONALD LEWIS. (Attachments: # 1 Exhibit, # 2
                    Certificate of Service) (ztth); Modified text and docket entry relationship on
                    12/30/2020 (ztth). (Entered: 12/21/2020)
  12/21/2020   64   RESPONSE re 52 Status Report filed by DAVID ALAN CARMICHAEL,
                    LAWRENCE DONALD LEWIS. (See Docket Entry 63 to view document) (ztth)
                    (Entered: 12/21/2020)
  12/30/2020   65   Memorandum in opposition to re 61 MOTION to Remand to U.S. Department of
                    State And To Stay Proceedings filed by DAVID ALAN CARMICHAEL,
                    LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ. (Attachment: # 1 Certificate
                    of Service) (ztth) (Entered: 12/30/2020)
  01/06/2021   66   REPLY to opposition to motion re 61 MOTION to Remand to U.S. Department of
                    State And To Stay Proceedings filed by MICHAEL R. POMPEO, UNITED STATES
                    DEPARTMENT OF STATE. (Hair, Christopher) (Entered: 01/06/2021)
  01/06/2021   67   RESPONSE re 59 MOTION for Order to Show Cause, 60 MOTION for Order to
                    Show Cause, 58 MOTION for Order to Show Cause filed by MICHAEL R.
                    POMPEO, UNITED STATES DEPARTMENT OF STATE. (Hair, Christopher)
                    (Entered: 01/06/2021)
  01/19/2021


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                    MINUTE ORDER: The Plaintiffs recently complained that they are being prejudiced
                    by their lack of access to the courthouse and the Court's prior denial of their use of the
                    electronic filing system. The Court previously considered and denied, without
                    prejudice, Plaintiffs' motion for electronic filing privileges, noting that "Plaintiffs
                    must describe their access to the internet, confirm their capacity to file documents and
                    receive filing electronically on a regular basis, and certify that they have completed
                    the Clerk's Office on−line tutorial." Mem. Op. at 23, ECF No. 45. The Court stated
                    that Plaintiffs could refile their motion with the required information. Id. Accordingly,
                    to the extent that Plaintiffs continue to desire electronic filing privileges, it is hereby
                    ORDERED that they file a motion for electronic filing privileges that complies with
                    all the requirements of Local Rule 5.4(b)(2). SO ORDERED. Signed by Judge
                    Rudolph Contreras on 1/19/2021. (lcrc3) (Entered: 01/19/2021)
  01/20/2021        MINUTE ORDER granting 61 Defendants' motion for voluntary remand and stay.
                    Upon consideration of Defendants' motion for voluntary remand and stay, Plaintiffs'
                    opposition thereto, and the entire record herein, it is hereby ORDERED that
                    Defendants' motion is GRANTED; the passport applications regarding each Plaintiff
                    are hereby REMANDED to the State Department for a period of 90 days from the
                    date of this Order. Notwithstanding Plaintiffs' argument that no further information is
                    required from them to adjudicate their requests for accommodation (because their
                    identity is not at issue given their submission of their prior passports by mail),
                    Plaintiffs are encouraged to comply with Defendants' reasonable requests for further
                    information in furtherance of Defendants' efforts on remand. The refusal by Plaintiffs
                    to provide such requested information, if the Court finds that Defendants' new
                    requests were justified, may serve as a basis for the State Department to legitimately
                    deny the requests for accommodation. After conclusion of the remand period, the
                    parties shall submit a joint status report on or before May 6, 2021, proposing a
                    schedule for further proceedings. It is FURTHER ORDERED that, in light of the
                    Court's decision on Defendants' motion for voluntary remand and stay, 58 , 59 , 60
                    Plaintiffs' pending motions to show cause are DENIED AS MOOT and 55 Plaintiffs'
                    motion for a Rule 16(b) Scheduling Conference is DENIED AS PREMATURE. It is
                    FURTHER ORDERED that this action, including all deadlines, is STAYED pending
                    further order of the Court. SO ORDERED. Signed by Judge Rudolph Contreras on
                    1/20/2021. (lcrc3) (Entered: 01/20/2021)
  01/22/2021   68   REPLY re 67 Response to motion filed by DAVID ALAN CARMICHAEL,
                    LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ. (Attachment: # 1 Exhibit)
                    (ztth) (Entered: 01/28/2021)
  02/03/2021   69   MOTION for CM/ECF Password by DAVID ALAN CARMICHAEL. (ztth)
                    Modified Date Filed on 2/5/2021 (ztth). (Entered: 02/05/2021)
  02/03/2021   70   NOTICE of Proposed Order by DAVID ALAN CARMICHAEL. (ztth) (Entered:
                    02/05/2021)
  02/08/2021        MINUTE ORDER: Upon consideration of 69 Plaintiff Carmichael's motion for
                    CM/ECF Password, it is hereby ORDERED that Plaintiff Carmichael shall submit a
                    document signed by Plaintiff Lewis and Plaintiff Pakosz evidencing the agreement to
                    have Plaintiff Carmichael manage all electronic filings on behalf of all Plaintiffs and
                    to circulate electronically filed materials to all Plaintiffs. SO ORDERED. Signed by
                    Judge Rudolph Contreras on 2/8/2021. (lcrc3) (Entered: 02/08/2021)
  02/10/2021   71   RESPONSE re Order on Motion for Hearing, Order on Motion for Order to Show
                    Cause, Order on Motion to Remand to Agency, filed by DAVID ALAN

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                     CARMICHAEL, LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ. (ztth)
                     (Entered: 02/12/2021)
   02/11/2021   72   MOTION for Reconsideration, MOTION to Stay, MOTION to Certify the Order for
                     Interlocutory Apeal by DAVID ALAN CARMICHAEL, LAWRENCE DONALD
                     LEWIS, WILLIAM PAKOSZ. (ztth) (Entered: 02/12/2021)
   02/16/2021   73   RESPONSE TO ORDER OF THE COURT re Order, filed by DAVID ALAN
                     CARMICHAEL, LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ. (ztth)
                     (Entered: 02/17/2021)
   02/17/2021   74   ORDER granting 69 Motion for CM/ECF Password. See document for details. Signed
                     by Judge Rudolph Contreras on 2/17/2021. (lcrc3) (Entered: 02/17/2021)
   02/25/2021   75   MOTION for Declaratory Judgment MOTION for Declaratory Judgment by David
                     Alan Carmichael, LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ.
                     (Attachments: # 1 Memorandum in Support Memorandum In Support Of Motion For
                     Declaratory Judgement On Remand Order Of Jan. 19, 2021, # 2 Affidavit Notice of
                     Parties Joining Motion For Declaratory Judgment, # 3 Certificate of Service
                     Certificate of Service)(Carmichael, David Alan) (Entered: 02/25/2021)
   02/25/2021   76   MOTION to Lift Stay re 75 MOTION for Declaratory Judgment MOTION for
                     Declaratory Judgment, Order on Motion for Hearing,,,,,,, Order on Motion for Order
                     to Show Cause,,,,,,,,,,,,,,,,,,,,, Order on Motion to Remand to Agency,,,,,, 72 MOTION
                     for Reconsideration MOTION to Stay MOTION to Certify the Order for Interlocutory
                     Apeal Immediate Motion by David Alan Carmichael. (Attachments: # 1 Text of
                     Proposed Order Proposed Order To Lift Stay And Schedule Response And Reply, # 2
                     Certificate of Service Certificate of Service)(Carmichael, David Alan) (Entered:
                     02/25/2021)
   02/26/2021   77   Memorandum in opposition to re 72 MOTION for Reconsideration MOTION to Stay
                     MOTION to Certify the Order for Interlocutory Apeal filed by MICHAEL R.
                     POMPEO, UNITED STATES DEPARTMENT OF STATE, UNITED STATES OF
                     AMERICA. (Hair, Christopher) (Entered: 02/26/2021)
   02/26/2021        MINUTE ORDER: It is hereby ORDERED that the government shall submit, on or
                     before March 5, 2021, a status report on the progress of this case on remand since the
                     Court's January 20, 2021 order. SO ORDERED. Signed by Judge Rudolph Contreras
                     on 2/26/2021. (lcrc3) (Entered: 02/26/2021)
   03/02/2021   78   REPLY re 72 MOTION for Reconsideration MOTION to Stay MOTION to Certify
                     the Order for Interlocutory Apeal Reply filed by David Alan Carmichael,
                     LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ. (Attachments: # 1 Affidavit
                     Plaintiffs Join Reply, # 2 Certificate of Service Certificate of Service)(Carmichael,
                     David Alan) (Entered: 03/02/2021)
   03/04/2021   79   SUPPLEMENTAL MEMORANDUM to re 75 MOTION for Declaratory Judgment
                     MOTION for Declaratory Judgment Evidence filed by David Alan Carmichael.
                     (Attachments: # 1 Exhibit Carmichael−2007−application−letters, # 2 Exhibit
                     2007−Identity−Evidence, # 3 Certificate of Service)(Carmichael, David Alan)
                     (Entered: 03/04/2021)
   03/05/2021   80   STATUS REPORT by MICHAEL R. POMPEO, UNITED STATES OF AMERICA.
                     (Hair, Christopher) (Entered: 03/05/2021)
   03/09/2021   81

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                     NOTICE of Intent To Respond To Status Report by David Alan Carmichael re 80
                     Status Report (Attachments: # 1 Certificate of Service)(Carmichael, David Alan)
                     (Entered: 03/09/2021)
   03/19/2021   82   RESPONSE re 80 Status Report Plaintiff Combined Response filed by David Alan
                     Carmichael, LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ. (Attachments: #
                     1 Notice and Consent Plaintiffs Join Response To 080, # 2 Certificate of
                     Service)(Carmichael, David Alan) (Entered: 03/19/2021)
   03/22/2021   83   MOTION for Hearing re 82 Response to Document, 80 Status Report Motion For
                     Status Conference by David Alan Carmichael. (Attachments: # 1 Text of Proposed
                     Order Proposed Order For Conference, # 2 Certificate of Service)(Carmichael, David
                     Alan) (Entered: 03/22/2021)
   04/19/2021        MINUTE ORDER denying 83 Plaintiffs' Motion for Hearing. The Court does not
                     intend to dissolve the remand order. See Min. Order (Jan. 20, 2021). The Court
                     reiterates that, as it said in that order, "Plaintiffs are encouraged to comply with
                     Defendants' reasonable requests for further information in furtherance of Defendants'
                     efforts on remand. The refusal by Plaintiffs to provide such requested information, if
                     the Court finds that Defendants' new requests were justified, may serve as a basis for
                     the State Department to legitimately deny the requests for accommodation." Id.
                     Plaintiffs brought this case in order to obtain Passports without having to identify with
                     a Social Security Number. The State Department has now offered them that
                     opportunity and the Court is perplexed by Plaintiffs', apparent, refusal to take
                     advantage of that opportunity. At this juncture (without the benefit of briefing by the
                     parties), it appears to the Court that, given the passage of time since the original
                     applications were submitted, the State Department would be acting reasonably to
                     assure itself that the information in the previously submitted applications is still
                     accurate and that up−to−date photographs are provided. Certainly, even if the
                     Passports are issued, this case is not necessarily moot. If Plaintiffs have a viable claim
                     for damages pursuant to the Religious Freedom Restoration Act (or any other law),
                     that aspect of the case would likely not be moot. Other claims may also survive. But
                     that is an argument for another day. Plaintiffs should carefully consider their options
                     before rejecting an opportunity to quickly obtain what was purported to be the
                     primary purpose of the lawsuit. The Court's original remand order indicated that:
                     "After conclusion of the remand period, the parties shall submit a joint status report
                     on or before May 6, 2021, proposing a schedule for further proceedings." Id. Because
                     the parties can convey their positions to the Court at that time, a hearing now is
                     unnecessary. SO ORDERED. Signed by Judge Rudolph Contreras on 4/19/2021.
                     (lcrc3) (Entered: 04/19/2021)
   04/23/2021   84   MOTION to Compel Passport Issuance To Pakosz And Lewis by LAWRENCE
                     DONALD LEWIS, WILLIAM PAKOSZ. (Attachments: # 1 Text of Proposed Order
                     Proposed Order To Compel, # 2 Memorandum in Support Memorandum In Support
                     of Order To Compel, # 3 Exhibit Attach−1_22CFR51.65, # 4 Exhibit
                     Attach−2_Summary−of−Phoncon, # 5 Exhibit Attach−3_Ltr−Explaining−Rationale, #
                     6 Exhibit Attach−4_Carmichael−New−Passport, # 7 Exhibit
                     Attach−5_Pakosz−Denial−Ltr, # 8 Exhibit Attach−6_ICAO−Photo−Requirements, #
                     9 Exhibit Attach−7_22CFR51.4, # 10 Certificate of Service)(Carmichael, David Alan)
                     (Entered: 04/23/2021)
   05/04/2021   85   RESPONSE TO ORDER OF THE COURT re Order on Motion for Hearing,,,,,,,,
                     Opposition, notice and request for relief from order filed by David Alan Carmichael,


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                     LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ. (Attachments: # 1 Exhibit
                     Passport SSN FAQ Gov Webpage, # 2 Certificate of Service)(Carmichael, David
                     Alan) (Entered: 05/04/2021)
   05/04/2021   86   MOTION Relief From Order re 85 Response to Order of the Court, by David Alan
                     Carmichael, LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ. (Carmichael,
                     David Alan) (Entered: 05/04/2021)
   05/06/2021   87   Joint STATUS REPORT by MICHAEL R. POMPEO, UNITED STATES OF
                     AMERICA. (Hair, Christopher) (Entered: 05/06/2021)
   05/07/2021        MINUTE ORDER: Upon consideration of 87 the parties' Joint Status Report, it is
                     hereby ORDERED that the following schedule shall govern further proceedings:
                     Defendants shall file their dispositive motions and their response to 84 Plaintiffs'
                     Combined Motion to Compel Defendants to Issue Passport Renewals to Lewis and
                     Pakosz on or before July 2, 2021; Plaintiffs shall file their response and reply on or
                     before August 6, 2021; and Defendants shall file their reply on or before August 20,
                     2021. SO ORDERED. Signed by Judge Rudolph Contreras on 5/7/2021. (lcrc3)
                     (Entered: 05/07/2021)
   05/07/2021        MINUTE ORDER: Because Plaintiff Carmichael has obtained his passport in the
                     litigation but the other Plaintiffs have not, Plaintiffs Lewis and Pakosz are ORDERED
                     to notify the Court on or before May 21, 2021, if they wish to be appointed counsel by
                     the Court to represent their potentially separate interests. SO ORDERED. Signed by
                     Judge Rudolph Contreras on 5/7/2021. (lcrc3) (Entered: 05/07/2021)
   05/14/2021        Set/Reset Deadlines: Responses due by 5/21/2021. (tj) (Entered: 05/14/2021)
   05/14/2021        Set/Reset Deadlines: Motions due by 7/2/2021. Responses due by 8/6/2021 Replies
                     due by 8/20/2021. (tj) (Entered: 05/14/2021)
   05/21/2021   88   RESPONSE TO ORDER OF THE COURT re Order,, 1st Order of May 7, 2021 filed
                     by LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ. (Attachments: # 1
                     Certificate of Service)(Carmichael, David Alan) (Entered: 05/21/2021)
   05/21/2021   89   RESPONSE TO ORDER OF THE COURT re Order,, Objection to 1st Order of May
                     7, 2021 filed by David Alan Carmichael. (Attachments: # 1 Certificate of
                     Service)(Carmichael, David Alan) (Entered: 05/21/2021)
   05/21/2021   90   RESPONSE TO ORDER OF THE COURT re Order, Objection To 2nd Order of May
                     7, 2021, filed by David Alan Carmichael. (Attachments: # 1 Certificate of
                     Service)(Carmichael, David Alan) (Entered: 05/21/2021)
   05/21/2021   91   RESPONSE TO ORDER OF THE COURT re Order, Objection to 2nd Order of May
                     7, 2021 filed by LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ.
                     (Attachments: # 1 Certificate of Service)(Carmichael, David Alan) (Entered:
                     05/21/2021)
   05/21/2021   92   MOTION for Joinder of Michelle Boulton by David Alan Carmichael, LAWRENCE
                     DONALD LEWIS, WILLIAM PAKOSZ. (Attachments: # 1 Text of Proposed Order
                     Proposed Order To Join Boulton, # 2 Certificate of Service)(Carmichael, David Alan)
                     (Entered: 05/21/2021)
   05/21/2021   93   MOTION for Leave to File CM/ECF Documents For Intervener by David Alan
                     Carmichael. (Attachments: # 1 Text of Proposed Order, # 2 Certificate of
                     Service)(Carmichael, David Alan) (Entered: 05/21/2021)


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   05/21/2021    94   MOTION to Intervene as Plaintiff by Michelle Boulton. (Attachments: # 1 Exhibit
                      Intervener Plaintiff Complaint, # 2 Certificate of Service)(Carmichael, David Alan)
                      (Entered: 05/21/2021)
   06/04/2021    95   Memorandum in opposition to re 94 MOTION to Intervene as Plaintiff, 92 MOTION
                      for Joinder of Michelle Boulton filed by MICHAEL R. POMPEO, UNITED STATES
                      OF AMERICA. (Attachments: # 1 Declaration of Krista Watkins)(Hair, Christopher)
                      (Entered: 06/04/2021)
   06/08/2021    96   Unopposed MOTION for Extension of Time to File Response/Reply as to 92
                      MOTION for Joinder of Michelle Boulton until June 28, 2021 by DAVID ALAN
                      CARMICHAEL, LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ.
                      (Attachments: # 1 Certificate of Service)(CARMICHAEL, DAVID) (Entered:
                      06/08/2021)
   06/09/2021         MINUTE ORDER granting 96 Plaintiffs' Unopposed Motion for Extension of Time.
                      It is hereby ORDERED that Plaintiffs shall file their reply in support of 92 Plaintiffs'
                      Motion for Joinder on or before June 28, 2021. SO ORDERED. Signed by Judge
                      Rudolph Contreras on 6/9/2021. (lcrc3) (Entered: 06/09/2021)
   06/15/2021    98   REPLY to opposition to motion re 94 MOTION to Intervene as Plaintiff filed by
                      MICHELLE BOULTON. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Certificate
                      of Service) (ztth) (Entered: 06/25/2021)
   06/24/2021    97   REPLY to opposition to motion re 94 MOTION to Intervene as Plaintiff, 92
                      MOTION for Joinder of Michelle Boulton filed by DAVID ALAN CARMICHAEL,
                      LAWRENCE DONALD LEWIS. (Attachments: # 1 Certificate of
                      Service)(CARMICHAEL, DAVID) (Entered: 06/24/2021)
   07/02/2021    99   MOTION to Dismiss Or, In The Alternative, MOTION for Summary Judgment by
                      MICHAEL R. POMPEO, UNITED STATES OF AMERICA. (Attachments: # 1
                      Memorandum in Support, # 2 Statement of Facts, # 3 Declaration of Kristia Watkins,
                      # 4 Exhibit A (State Department letters to Lewis and Pakosz), # 5 Text of Proposed
                      Order)(Hair, Christopher) (Entered: 07/02/2021)
   07/06/2021   100   FOX/NEAL ORDER advising Plaintiffs to respond, on or before August 20, 2021, to
                      99 Defendants' motion to dismiss or, in the alternative, for summary judgment, or the
                      Court may deem the motion conceded. See document for details. Signed by Judge
                      Rudolph Contreras on 7/6/2021. (lcrc3) (Entered: 07/06/2021)
   07/06/2021   101   MOTION for Order by DAVID ALAN CARMICHAEL. (ztth) (Entered: 07/07/2021)
   07/19/2021   102   REPLY to opposition to motion re 84 MOTION to Compel Passport Issuance To
                      Pakosz And Lewis with full "Response" to 99 Still Pending filed by LAWRENCE
                      DONALD LEWIS. (Attachments: # 1 Certificate of Service)(CARMICHAEL,
                      DAVID) (Entered: 07/19/2021)
   07/19/2021   103   SUGGESTION OF DEATH of DEATH Re: William MItchell Pakosz by DAVID
                      ALAN CARMICHAEL, LAWRENCE DONALD LEWIS (Attachments: # 1
                      Certificate of Service)(CARMICHAEL, DAVID); Modified text and docketing event
                      on 7/23/2021 (ztth). (Entered: 07/19/2021)
   07/28/2021   104   MOTION to Amend/Correct 100 Fox/Neal Order, Order,, of May 7, Unopposed
                      MOTION for Briefing Schedule Change to Match Fox/Neal Order Schedule by
                      DAVID ALAN CARMICHAEL. (Attachments: # 1 Certificate of
                      Service)(CARMICHAEL, DAVID) (Entered: 07/28/2021)

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   07/29/2021         MINUTE ORDER granting 104 Plaintiff Carmichael's Motion to Reset Schedule. It is
                      hereby ORDERED that, in accordance with 100 the Fox/Neal Order, Plaintiffs shall
                      file their response to 99 Defendants' motion to dismiss or, in the alternative, for
                      summary judgment on or before August 20, 2021. It is FURTHER ORDERED that
                      Defendants shall file their reply on or before September 10, 2021. SO ORDERED.
                      Signed by Judge Rudolph Contreras on 7/29/2021. (lcrc3) (Entered: 07/29/2021)
   08/08/2021         MINUTE ORDER: According to Defendants' declaration submitted with their
                      opposition to Michelle Boulton's motion to intervene, Ms. Boulton's application had
                      not been denied at the time of the opposition's filing (June 4, 2021) and she had been
                      given 90 days (until June 7, 2021) to provide additional information. ECF No. 95−1 at
                      2. With that date having passed, it is hereby ORDERED that Defendant State
                      Department shall submit a status report regarding Ms. Boulton's application on or
                      before August 23, 2021. SO ORDERED. Signed by Judge Rudolph Contreras on
                      8/8/2021. (lcrc3) (Entered: 08/08/2021)
   08/13/2021         Set/Reset Deadlines: Status Report due by 8/23/2021 (tj) (Entered: 08/13/2021)
   08/20/2021   105   STATUS REPORT by MICHAEL R. POMPEO, UNITED STATES OF AMERICA.
                      (Attachments: # 1 Exhibit A (8/10/21 Email to M. Boulton re: passport
                      application))(Hair, Christopher) (Entered: 08/20/2021)
   08/20/2021   106   RESPONSE re 99 MOTION to Dismiss Or, In The Alternative MOTION for
                      Summary Judgment Opposition filed by DAVID ALAN CARMICHAEL,
                      LAWRENCE DONALD LEWIS. (Attachments: # 1 Declaration
                      Carmichael−With−Evidence−Exhibits−Attached, # 2 Declaration
                      Lewis−Regarding−Damages, # 3 Declaration
                      Lewis−Expounding−Facts−With−Relevance, # 4 Certificate of
                      Service)(CARMICHAEL, DAVID) (Entered: 08/20/2021)
   08/21/2021   107   MOTION for Leave to File 106 Response to motion, Motion For Leave To File
                      Overlooked Document filed by DAVID ALAN CARMICHAEL, LAWRENCE
                      DONALD LEWIS. (Attachments: # 1 Supplement Plaintiffs' Declaration of Facts, # 2
                      Certificate of Service)(CARMICHAEL, DAVID); Modified event and text on
                      8/25/2021 (ztth). (Entered: 08/21/2021)
   08/28/2021   108   MOTION for Relief from Judgment or Order Dismissing Causes of Action, ECF 45,
                      August 28, 2020 by DAVID ALAN CARMICHAEL, LAWRENCE DONALD
                      LEWIS. (Attachments: # 1 Text of Proposed Order Proposed Order, # 2 Certificate of
                      Service)(CARMICHAEL, DAVID) (Entered: 08/28/2021)
   09/02/2021   109   RESPONSE re 105 Status Report In Opposition and Refuting filed by MICHELLE
                      BOULTON. (Attachments: # 1 Exhibit ACS Email 3−12−21 Denying Passport For
                      No SSN, # 2 Exhibit ACS Email 3−30−21 Denying Passport For No SSN, # 3 Exhibit
                      Boulton Dclrtn & Rqst For Accommodation, # 4 Exhibit Boulton Email 3−23−21
                      Reiterating Rqst For Accommodation, # 5 Exhibit Boulton Email 3−30−21, # 6
                      Exhibit Boulton Email 4−2−21 Reiterating Rqst For Accommodation, # 7 Exhibit
                      ACS Email To Boulton 4−2−21 Acknowledging Email, # 8 Exhibit ACS Email to
                      Boulton 8−10−21 Notice of Passport Issuance, # 9 Exhibit ACS Email to Boulton
                      8−18−21 Notice Passport Ready For Pickup, # 10 Exhibit Watkins Declaration
                      7−1−21 Re: Carmichael, Lewis, Pakosz, # 11 Exhibit Watkins Declaration 7−3−21
                      Re: Boulton, # 12 Exhibit Boulton Reply to Def. Opposing Mot. to Intervene, # 13
                      Certificate of Service)(CARMICHAEL, DAVID) (Entered: 09/02/2021)
   09/09/2021   110

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                      MOTION for Extension of Time to File Response/Reply as to 99 MOTION to
                      Dismiss Or, In The Alternative MOTION for Summary Judgment , 108 MOTION for
                      Relief from Judgment or Order Dismissing Causes of Action, ECF 45, August 28,
                      2020 by MICHAEL R. POMPEO, UNITED STATES OF AMERICA. (Hair,
                      Christopher) (Entered: 09/09/2021)
   09/09/2021         MINUTE ORDER granting 110 Defendants' Motion for Extension of Time. Upon
                      consideration of Defendants' motion and Plaintiffs' opposition to the requested
                      reply−brief extension, it is hereby ORDERED that Defendants shall file their reply in
                      support of their motion to dismiss or, in the alternative, for summary judgment;
                      opposition to Plaintiffs' motion for relief from judgment; and response to Michelle
                      Boulton's response to the government's status report, on or before October 11, 2021.
                      SO ORDERED. Signed by Judge Rudolph Contreras on 9/9/2021. (lcrc3) (Entered:
                      09/09/2021)
   09/09/2021   111   Memorandum in opposition to re 110 MOTION for Extension of Time to File
                      Response/Reply as to 99 MOTION to Dismiss Or, In The Alternative MOTION for
                      Summary Judgment , 108 MOTION for Relief from Judgment or Order Dismissing
                      Causes of Action, ECF 45, August 2, 99 MOTION to Dismiss Or, In The Alternative
                      MOTION for Summary Judgment Opposition to Extension filed by MICHELLE
                      BOULTON, DAVID ALAN CARMICHAEL, LAWRENCE DONALD LEWIS.
                      (Attachments: # 1 Text of Proposed Order Plaintiff Proposed Order, # 2 Certificate of
                      Service)(CARMICHAEL, DAVID) (Entered: 09/09/2021)
   09/09/2021   112   Emergency MOTION for Reconsideration re 111 Memorandum in Opposition,, Order
                      on Motion for Extension of Time to File Response/Reply,, 99 MOTION to Dismiss
                      Or, In The Alternative MOTION for Summary Judgment Objection To Exparte
                      Decisions by DAVID ALAN CARMICHAEL. (Attachments: # 1 Certificate of
                      Service)(CARMICHAEL, DAVID) (Entered: 09/09/2021)
   09/10/2021   113   MOTION to Substitute Rick Dale Hollingsworth As Successor by WILLIAM
                      PAKOSZ. (Attachments: # 1 Exhibit Death Certificate, # 2 Certificate of
                      Service)(CARMICHAEL, DAVID) (Entered: 09/10/2021)
   09/10/2021         MINUTE ORDER denying 112 Plaintiff Carmichael's Emergency Motion for
                      Reconsideration. The Court has read and considered the arguments presented in 111
                      Plaintiffs' Consolidated Response in Opposition to Defendants' Motion for Extension
                      of Time to Reply Regarding Their Motion for Dismissal (99) but is not persuaded to
                      reconsider its order. Therefore, it is hereby ORDERED that the motion is DENIED.
                      SO ORDERED. Signed by Judge Rudolph Contreras on 9/10/2021. (lcrc3) (Entered:
                      09/10/2021)
   09/24/2021   114   RESPONSE re 113 MOTION to Substitute Rick Dale Hollingsworth As Successor
                      filed by MICHAEL R. POMPEO, UNITED STATES OF AMERICA. (Hair,
                      Christopher) (Entered: 09/24/2021)
   10/01/2021   115   REPLY to opposition to motion re 113 MOTION to Substitute Rick Dale
                      Hollingsworth As Successor filed by WILLIAM PAKOSZ. (Attachments: # 1 Exhibit
                      Declaration of Spouse Delores Pakosz, # 2 Exhibit Declaration of Daughter Angela
                      Hollingsworth, # 3 Certificate of Service)(CARMICHAEL, DAVID) (Entered:
                      10/01/2021)
   10/02/2021   116   RESPONSE re 113 MOTION to Substitute Rick Dale Hollingsworth As Successor, 99
                      MOTION to Dismiss Or, In The Alternative MOTION for Summary Judgment
                      Response, Motion To Join Plaintiffs Opposition 106 filed by WILLIAM PAKOSZ.

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                      (Attachments: # 1 Certificate of Service)(CARMICHAEL, DAVID) (Entered:
                      10/02/2021)
   10/11/2021   117   REPLY to opposition to motion re 99 MOTION to Dismiss Or, In The Alternative
                      MOTION for Summary Judgment filed by MICHAEL R. POMPEO, UNITED
                      STATES OF AMERICA. (Hair, Christopher) (Entered: 10/11/2021)
   10/11/2021   118   Memorandum in opposition to re 108 MOTION for Relief from Judgment or Order
                      Dismissing Causes of Action, ECF 45, August 28, 2020 filed by MICHAEL R.
                      POMPEO, UNITED STATES OF AMERICA. (Hair, Christopher) (Entered:
                      10/11/2021)
   10/16/2021   119   REPLY to opposition to motion re 108 MOTION for Relief from Judgment or Order
                      Dismissing Causes of Action, ECF 45, August 28, 2020 filed by MICHELLE
                      BOULTON, DAVID ALAN CARMICHAEL, LAWRENCE DONALD LEWIS,
                      WILLIAM PAKOSZ. (Attachments: # 1 Certificate of Service)(CARMICHAEL,
                      DAVID) (Entered: 10/16/2021)
   10/16/2021   120   MOTION to Substitute Carmichael for Pakosz as Alternative to Hollingsworth by
                      DAVID ALAN CARMICHAEL. (Attachments: # 1 Text of Proposed Order to grant
                      Carmichael as alternative substitute for Pakosz, # 2 Certificate of
                      Service)(CARMICHAEL, DAVID) Modified docket entry information on 10/18/2021
                      (ztth). (Entered: 10/16/2021)
   10/21/2021   121   MOTION for Sanctions , Show Cause Hearing, Investigation and Prosecution by
                      MICHELLE BOULTON. (Attachments: # 1 Declaration Michelle Boulton
                      Declaration, # 2 Text of Proposed Order Proposed Order For Show Cause Hearing
                      Considering Sanction, Investigation and Prosecution, # 3 Certificate of
                      Service)(CARMICHAEL, DAVID) (Entered: 10/21/2021)
   11/04/2021   122   Memorandum in opposition to re 121 MOTION for Sanctions , Show Cause Hearing,
                      Investigation and Prosecution filed by MICHAEL R. POMPEO, UNITED STATES
                      OF AMERICA. (Attachments: # 1 Exhibit A)(Hair, Christopher) (Entered:
                      11/04/2021)
   11/11/2021   123   REPLY to opposition to motion re 121 MOTION for Sanctions , Show Cause
                      Hearing, Investigation and Prosecution filed by MICHELLE BOULTON.
                      (Attachments: # 1 Certificate of Service)(CARMICHAEL, DAVID) (Entered:
                      11/11/2021)
   03/25/2022   124   ORDER denying 72 , 75 , 76 , 86 Plaintiffs' motions concerning remand; denying 84
                      Plaintiffs' motion to compel; denying 92 , 93 , 94 Plaintiffs' and Boulton's motions
                      concerning intervention and joinder; granting in part and denying in part 99
                      Defendants' motion to dismiss or, in the alternative, for summary judgment; denying
                      101 Plaintiff Carmichael's motion for Court to maintain custody of replacement
                      passport; granting 107 Plaintiff Carmichael's motion for leave of late filing of
                      statement of facts; denying 108 Plaintiffs' combined motion for relief; denying 113 ,
                      120 Plaintiff Carmichael's and Hollingsworth's motions regarding substitution; and
                      denying 121 Boulton's motion for sanctions. See document for details. Signed by
                      Judge Rudolph Contreras on 3/25/2022. (lcrc3) (Entered: 03/25/2022)
   03/25/2022   125   MEMORANDUM OPINION denying 72 , 75 , 76 , 86 Plaintiffs' motions concerning
                      remand; denying 84 Plaintiffs' motion to compel; denying 92 , 93 , 94 Plaintiffs' and
                      Boulton's motions concerning intervention and joinder; granting in part and denying
                      in part 99 Defendants' motion to dismiss or, in the alternative, for summary judgment;


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                      denying 101 Plaintiff Carmichael's motion for Court to maintain custody of
                      replacement passport; granting 107 Plaintiff Carmichael's motion for leave of late
                      filing of statement of facts; denying 108 Plaintiffs' combined motion for relief;
                      denying 113 , 120 Plaintiff Carmichael's and Hollingsworth's motions regarding
                      substitution; and denying 121 Boulton's motion for sanctions. See document for
                      details. Signed by Judge Rudolph Contreras on 3/25/2022. (lcrc3) (Entered:
                      03/25/2022)
   03/30/2022   126   LEAVE TO FILE DENIED − Motion. This document is unavailable as the Court
                      denied its filing. "LEAVETO FILE DENIED. "Motion" does not comply with Local
                      Rules page limits and pertains to matters not germane to the remaining issues in the
                      case." Signed by Judge Rudolph Contreras on 3/30/2022. (ztth) (Additional
                      attachment(s) added on 4/1/2022: # 1 Exhibit) (ztth). (Entered: 03/31/2022)
   04/04/2022   127   RESPONSE TO ORDER OF THE COURT re 125 Memorandum & Opinion,,, 124
                      Order on Motion for Reconsideration,,,, Order on Motion to Stay,,,, Order on Motion
                      for Miscellaneous Relief,,,, Order on Motion for Declaratory Judgment,,,, Order on
                      Motion to Lift Stay,,,, Order on Motion to Compel,,,,,,,, Order on Motion for
                      Joinder,,,, Order on Motion for Leave to File,,,, Order on Motion to Intervene,,,, Order
                      on Motion to Dismiss,,,, Order on Motion for Summary Judgment,,,, Order on Motion
                      for Order,,,,,,,, Order on Motion for Relief from Judgment,,,, Order on Motion to
                      Substitute,,,, Order on Motion to Substitute Party,,,, Order on Motion for Sanctions,,,
                      filed by DAVID ALAN CARMICHAEL. (Attachments: # 1 Exhibit Idaho Man
                      Denied No−SSN Passport, # 2 Exhibit Nevada Man Denied No−SSN Passport, # 3
                      Exhibit IRS Form 13977 Good Cause For No SSN On Passport Form, # 4 Exhibit
                      Florida Woman Denied No−SSN Passport Application Opened, # 5 Certificate of
                      Service)(CARMICHAEL, DAVID) (Entered: 04/04/2022)
   04/07/2022   128   NOTICE OF SUBSTITUTION OF COUNSEL by Stephen DeGenaro on behalf of
                      All Defendants Substituting for attorney Christopher Hair (DeGenaro, Stephen)
                      (Entered: 04/07/2022)
   04/14/2022   129   RESPONSE re 125 Memorandum & Opinion,,, 124 Order on Motion for
                      Reconsideration,,,, Order on Motion to Stay,,,, Order on Motion for Miscellaneous
                      Relief,,,, Order on Motion for Declaratory Judgment,,,, Order on Motion to Lift
                      Stay,,,, Order on Motion to Compel,,,,,,,, Order on Motion for Joinder,,,, Order on
                      Motion for Leave to File,,,, Order on Motion to Intervene,,,, Order on Motion to
                      Dismiss,,,, Order on Motion for Summary Judgment,,,, Order on Motion for
                      Order,,,,,,,, Order on Motion for Relief from Judgment,,,, Order on Motion to
                      Substitute,,,, Order on Motion to Substitute Party,,,, Order on Motion for Sanctions,,,
                      Response to order and Carmichael Response filed by LAWRENCE DONALD
                      LEWIS. (Attachments: # 1 Certificate of Service)(CARMICHAEL, DAVID)
                      (Entered: 04/14/2022)
   04/14/2022   130   RESPONSE re 125 Memorandum & Opinion,,, 124 Order on Motion for
                      Reconsideration,,,, Order on Motion to Stay,,,, Order on Motion for Miscellaneous
                      Relief,,,, Order on Motion for Declaratory Judgment,,,, Order on Motion to Lift
                      Stay,,,, Order on Motion to Compel,,,,,,,, Order on Motion for Joinder,,,, Order on
                      Motion for Leave to File,,,, Order on Motion to Intervene,,,, Order on Motion to
                      Dismiss,,,, Order on Motion for Summary Judgment,,,, Order on Motion for
                      Order,,,,,,,, Order on Motion for Relief from Judgment,,,, Order on Motion to
                      Substitute,,,, Order on Motion to Substitute Party,,,, Order on Motion for Sanctions,,,
                      Response to Order and Carmichael Response filed by WILLIAM PAKOSZ.


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                      (Attachments: # 1 Certificate of Service)(CARMICHAEL, DAVID) (Entered:
                      04/14/2022)
   04/18/2022   131   RESPONSE TO ORDER OF THE COURT re 125 Memorandum & Opinion,,, 124
                      Order on Motion for Reconsideration,,,, Order on Motion to Stay,,,, Order on Motion
                      for Miscellaneous Relief,,,, Order on Motion for Declaratory Judgment,,,, Order on
                      Motion to Lift Stay,,,, Order on Motion to Compel,,,,,,,, Order on Motion for
                      Joinder,,,, Order on Motion for Leave to File,,,, Order on Motion to Intervene,,,, Order
                      on Motion to Dismiss,,,, Order on Motion for Summary Judgment,,,, Order on Motion
                      for Order,,,,,,,, Order on Motion for Relief from Judgment,,,, Order on Motion to
                      Substitute,,,, Order on Motion to Substitute Party,,,, Order on Motion for Sanctions,,,
                      and Carmichael's response (127) filed by MICHELLE BOULTON. (Attachments: # 1
                      Certificate of Service)(CARMICHAEL, DAVID) (Entered: 04/18/2022)
   05/18/2022   132   NOTICE OF APPEAL TO DC CIRCUIT COURT as to 125 Memorandum &
                      Opinion,,, 124 Order on Motion for Reconsideration,,,, Order on Motion to Stay,,,,
                      Order on Motion for Miscellaneous Relief,,,, Order on Motion for Declaratory
                      Judgment,,,, Order on Motion to Lift Stay,,,, Order on Motion to Compel,,,,,,,, Order
                      on Motion for Joinder,,,, Order on Motion for Leave to File,,,, Order on Motion to
                      Intervene,,,, Order on Motion to Dismiss,,,, Order on Motion for Summary
                      Judgment,,,, Order on Motion for Order,,,,,,,, Order on Motion for Relief from
                      Judgment,,,, Order on Motion to Substitute,,,, Order on Motion to Substitute Party,,,,
                      Order on Motion for Sanctions,,, by MICHELLE BOULTON, DAVID ALAN
                      CARMICHAEL, LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ. Fee Status:
                      No Fee Paid. Parties have been notified. (Attachments: # 1 Civil Cover Sheet Civil
                      Docketing Statements of All Plaintiffs/Appellants, # 2 Certificate of
                      Service)(CARMICHAEL, DAVID) (Entered: 05/18/2022)
   05/18/2022   133   NOTICE re 132 NOTICE OF APPEAL TO DC CIRCUIT COURT (Attachments: # 1
                      Errata Notice of Payment By Money Order, # 2 Certificate of
                      Service)(CARMICHAEL, DAVID); Modified docketing event, text, and added
                      docket entry relationship on 5/19/2022. (ztth) (Entered: 05/18/2022)
   05/19/2022   134   Transmission of the Notice of Appeal, Order Appealed (Memorandum Opinion), and
                      Docket Sheet to US Court of Appeals. The fee remains to be paid and another notice
                      will be transmitted when the fee has been paid in the District Court or motion to
                      proceed In Forma Pauperis has been decided re 132 Notice of Appeal to DC Circuit
                      Court. (ztth) (Entered: 05/19/2022)
   05/24/2022         USCA Appeal Fees received $ 505 receipt number 202216 re 132 Notice of Appeal to
                      DC Circuit Court, filed by MICHELLE BOULTON, DAVID ALAN
                      CARMICHAEL, WILLIAM PAKOSZ, LAWRENCE DONALD LEWIS. (ztth)
                      (Entered: 05/24/2022)
   05/24/2022   135   Supplemental Record on Appeal transmitted to US Court of Appeals re USCA Appeal
                      Fees; the Court of Appeals fee was paid. (ztth) (Entered: 05/24/2022)
   05/24/2022   136   STATUS REPORT by MICHAEL R. POMPEO, UNITED STATES OF AMERICA.
                      (Attachments: # 1 Ex. A − Declaration of Paul Peek, # 2 Certificate of
                      Service)(DeGenaro, Stephen) (Entered: 05/24/2022)
   05/24/2022   137   RESPONSE re 125 Memorandum & Opinion,,, 124 Order on Motion for
                      Reconsideration,,,, Order on Motion to Stay,,,, Order on Motion for Miscellaneous
                      Relief,,,, Order on Motion for Declaratory Judgment,,,, Order on Motion to Lift
                      Stay,,,, Order on Motion to Compel,,,,,,,, Order on Motion for Joinder,,,, Order on

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                      Motion for Leave to File,,,, Order on Motion to Intervene,,,, Order on Motion to
                      Dismiss,,,, Order on Motion for Summary Judgment,,,, Order on Motion for
                      Order,,,,,,,, Order on Motion for Relief from Judgment,,,, Order on Motion to
                      Substitute,,,, Order on Motion to Substitute Party,,,, Order on Motion for Sanctions,,,
                      Response To Defendant Status Report filed by MICHELLE BOULTON, DAVID
                      ALAN CARMICHAEL, LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ.
                      (Attachments: # 1 Exhibit Carmichael Response To US Atty Email, # 2 Exhibit Email
                      Chain Re ICAO 9303, # 3 Exhibit Lewis Letter To US Atty, # 4 Exhibit Email Chain
                      Re Lewis Letter, # 5 Certificate of Service)(CARMICHAEL, DAVID) (Entered:
                      05/24/2022)
   05/25/2022         USCA Case Number 22−5143 for 133 Notice of Appeal to DC Circuit Court, filed by
                      MICHELLE BOULTON, DAVID ALAN CARMICHAEL, WILLIAM PAKOSZ,
                      LAWRENCE DONALD LEWIS. (ztth) (Entered: 05/25/2022)
   05/25/2022         MINUTE ORDER: It is hereby ORDERED that the Government send Mr. Lewis his
                      passport at the address he provided in ECF No. 137−3. It is FURTHER ORDERED
                      that Mr. Carmichael convey how he wants to take possession of his passport which is
                      in the possession of the Clerk's Office. It is FURTHER ORDERED that 136 the
                      Government's request for a stay is DENIED. It is FURTHER ORDERED that the
                      Government file any dispositive motion, on mootness or other grounds, by June 24,
                      2022. SO ORDERED. Signed by Judge Rudolph Contreras on 5−25−2022. (lcrc3)
                      (Entered: 05/25/2022)
   05/26/2022         Set/Reset Deadlines: Dispositive Motion due by 6/24/2022. (zgdf) (Entered:
                      05/26/2022)
   06/01/2022   138   RESPONSE TO ORDER OF THE COURT re Order,, Objections and Notice of Intent
                      To File In Circuit Court For Stay of Order filed by MICHELLE BOULTON, DAVID
                      ALAN CARMICHAEL, LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ.
                      (Attachments: # 1 Certificate of Service)(CARMICHAEL, DAVID) (Entered:
                      06/01/2022)
   06/14/2022   139   NOTICE of Filing Motion to Stay in USCA by DAVID ALAN CARMICHAEL.
                      (ztth) Modified to add text on 6/22/2022 (znmw). (Entered: 06/21/2022)
   06/24/2022   140   MOTION to Dismiss for Lack of Subject Matter Jurisdiction by MICHAEL R.
                      POMPEO, UNITED STATES DEPARTMENT OF STATE, UNITED STATES OF
                      AMERICA. (Attachments: # 1 Memorandum in Support, # 2 Ex. A − First
                      Declaration of Paul Peek, # 3 Ex. B − Second Declaration of Paul Peek, # 4 Text of
                      Proposed Order, # 5 Certificate of Service)(DeGenaro, Stephen) (Entered:
                      06/24/2022)
   07/08/2022   141   MOTION for Extension of Time to File Response/Reply as to 140 MOTION to
                      Dismiss for Lack of Subject Matter Jurisdiction by MICHELLE BOULTON, DAVID
                      ALAN CARMICHAEL, LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ.
                      (Attachments: # 1 Text of Proposed Order Proposed Order, # 2 Certificate of Service
                      Cert. Serv.)(CARMICHAEL, DAVID) (Entered: 07/08/2022)
   07/08/2022         MINUTE ORDER granting 141 Plaintiff's Motion for Extension of Time: It is hereby
                      ORDERED that Plaintiff's response is due by 7/29/2022 and Defendants' reply is due
                      by 8/12/2022. SO ORDERED. Signed by Judge Rudolph Contreras on 7−8−2022.
                      (lcrc3) (Entered: 07/08/2022)
   07/29/2022   142


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                      MOTION to Stay re 140 MOTION to Dismiss for Lack of Subject Matter Jurisdiction
                      by MICHELLE BOULTON, DAVID ALAN CARMICHAEL, LAWRENCE
                      DONALD LEWIS, WILLIAM PAKOSZ. (Attachments: # 1 Certificate of
                      Service)(CARMICHAEL, DAVID) (Entered: 07/29/2022)
   07/29/2022   143   MOTION to Amend/Correct 51 AMENDED COMPLAINT by DAVID ALAN
                      CARMICHAEL (Attachments: # 1 Exhibit Leave To Amend In Alternative To Stay,
                      # 2 Certificate of Service)(CARMICHAEL, DAVID) Modified on 8/2/2022 to correct
                      docket link/ text (zjm). (Entered: 07/29/2022)
   07/29/2022   144   Memorandum in opposition to re 140 Motion to Dismiss, filed by MICHELLE
                      BOULTON, DAVID ALAN CARMICHAEL, LAWRENCE DONALD LEWIS,
                      WILLIAM PAKOSZ. (Attachments: # 1 Exhibit ICAO Photo Requirements, # 2
                      Exhibit ICAO Citing State Policy Preeminance, # 3 Exhibit 8 FAM 402 Passport
                      Photo Requirements, # 4 Exhibit 8 FAM 405 Adjudication Support, # 5 Exhibit 8
                      FAM 101 Intro to Passports, # 6 Exhibit US Atty Email RE ICAO and Lewis, # 7
                      Certificate of Service)(CARMICHAEL, DAVID) (Entered: 07/29/2022)
   08/12/2022   145   Consent MOTION for Extension of Time to File a Reply by UNITED STATES
                      DEPARTMENT OF STATE, UNITED STATES OF AMERICA. (Attachments: # 1
                      Text of Proposed Order, # 2 Certificate of Service)(DeGenaro, Stephen) (Entered:
                      08/12/2022)
   08/12/2022         MINUTE ORDER granting 145 Defendants' Motion for Extension of Time: It is
                      hereby ORDERED that the time for Defendants to file their reply is hereby extended
                      up to and including September 2, 2022. SO ORDERED. Signed by Judge Rudolph
                      Contreras on 8−12−2022. (lcrc3) (Entered: 08/12/2022)
   08/12/2022   146   Consent MOTION to Withdraw 142 MOTION to Stay re 140 MOTION to Dismiss
                      for Lack of Subject Matter Jurisdiction by DAVID ALAN CARMICHAEL,
                      LAWRENCE DONALD LEWIS. (Attachments: # 1 Certificate of
                      Service)(CARMICHAEL, DAVID) (Entered: 08/12/2022)
   08/12/2022   147   Consent MOTION to Amend/Correct 144 Memorandum in Opposition,, Replacing
                      Attachment 5 of ECF144 by DAVID ALAN CARMICHAEL. (Attachments: # 1
                      Exhibit 8 FAM 101.1 Introduction To Passports, # 2 Certificate of
                      Service)(CARMICHAEL, DAVID) (Entered: 08/12/2022)
   08/15/2022         MINUTE ORDER granting 146 Plaintiffs' Motion to Withdraw: It is hereby
                      ORDERED that 142 Plaintiffs' Motion to Stay is DEEMED WITHDRAWN. SO
                      ORDERED. Signed by Judge Rudolph Contreras on 8−15−2022. (lcrc3) (Entered:
                      08/15/2022)
   08/15/2022         MINUTE ORDER granting 147 Plaintiffs' Motion to Amend/Correct: It is hereby
                      ORDERED that the correct document in this filing shall replace Attachment 5 of 144
                      Plaintiff's Memorandum in Opposition. SO ORDERED. Signed by Judge Rudolph
                      Contreras on 8−15−2022. (lcrc3) (Entered: 08/15/2022)
   09/02/2022   148   REPLY to opposition to motion re 140 MOTION to Dismiss for Lack of Subject
                      Matter Jurisdiction filed by MICHAEL R. POMPEO, UNITED STATES
                      DEPARTMENT OF STATE, UNITED STATES OF AMERICA. (Attachments: # 1
                      Certificate of Service)(DeGenaro, Stephen) (Entered: 09/02/2022)
   03/20/2023   149   ORDER granting 140 Defendants' Motion to Dismiss and denying 143 Plaintiffs'
                      Motion for Leave to Amend the Complaint. See document for details. Signed by


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                      Judge Rudolph Contreras on 3−20−2023. (lcrc3) (Entered: 03/20/2023)
   03/20/2023   150   MEMORANDUM OPINION granting 140 Defendants' Motion to Dismiss and
                      denying 143 Plaintiffs' Motion for Leave to Amend the Complaint. See document for
                      details. Signed by Judge Rudolph Contreras on 3−20−2023. (lcrc3) (Entered:
                      03/20/2023)
   03/29/2023   151   RESPONSE TO ORDER OF THE COURT re 149 Order on Motion to Dismiss, 150
                      Memorandum & Opinion Objections filed by DAVID ALAN CARMICHAEL,
                      LAWRENCE DONALD LEWIS, WILLIAM PAKOSZ. (Attachments: # 1 Exhibit
                      8FAM403.1−4_Name−Changes, # 2 Exhibit Form−DS−4404_passport−name−chage,
                      # 3 Exhibit New−Form−DS−82−passport−renewal, # 4 Certificate of
                      Service)(CARMICHAEL, DAVID) (Entered: 03/29/2023)
   05/15/2023   152   NOTICE OF APPEAL TO DC CIRCUIT COURT by DAVID ALAN
                      CARMICHAEL, LAWRENCE DONALD LEWIS. Fee Status: No Fee Paid. Parties
                      have been notified. (Attachments: # 1 Certificate of Service)(CARMICHAEL,
                      DAVID) (Entered: 05/15/2023)
   05/16/2023   153   Transmission of the Notice of Appeal, Order Appealed (Memorandum Opinion), and
                      Docket Sheet to US Court of Appeals. The fee remains to be paid and another notice
                      will be transmitted when the fee has been paid in the District Court or motion to
                      proceed In Forma Pauperis has been decided re 152 Notice of Appeal to DC Circuit
                      Court. (ztth) (Entered: 05/16/2023)
   05/17/2023         USCA Case Number 23−5111 for 152 Notice of Appeal to DC Circuit Court filed by
                      DAVID ALAN CARMICHAEL, LAWRENCE DONALD LEWIS. (znmw) (Entered:
                      05/17/2023)
   05/22/2023   154   NOTICE OF APPEAL TO DC CIRCUIT COURT as to 149 Order on Motion to
                      Dismiss, 150 Memorandum & Opinion by WILLIAM PAKOSZ. Fee Status: No Fee
                      Paid. Parties have been notified. (Attachments: # 1 Certificate of
                      Service)(CARMICHAEL, DAVID) (Entered: 05/22/2023)
                      Main Document
                      Attachment # 1 Certificate of Service




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                                    United States District Court,

                                        District of Columbia


David Alan Carmichael, et al.                          )
                                                       )
          Plaintiffs                                   )
                                                       )   Case No: 19-CV-2316-RC
                  v.                                   )
                                                       )
Michael Richard Pompeo, in his Offiicial               )
       capacity as Secretary of State, et al.,1        )
                                                       )
          Defendants                                   )




                                              Notice of Appeal


          Notice is hereby given that Rick Dale Hollingsworth as moved-for-Substitute for William

Pakosz, and David Alan Carmichael as moved-for Alternate, in the above named case, on behalf

of the interests of William Pakosz, does join the appeal to the United States Court of Appeals for

the District of Columbia Circuit from the order of March 20, 2023 filed by Plaintiffs/Appellants

Carmichael and Lewis (ECF 152). This notice is entered in this action on this 22nd day of May,

2023. The Appeal incorporates all things filed, objected to, orders, etc., throughout the case.




                                                   (s) Rick Dale Hollingsworth
                                                   Rick Dale Hollingsworth
                                                   As Substitute for William Mitchell Pakosz
                                                   14930 Greenbrier Lane
                                                   Homer Glen, Illinois 60491
(Continue on next page)

1
    Original styling - Antony L. Blinken is now the principal of record by succession of office,
    Rule 25(d).


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                                      (s) David Alan Carmichael
                                      David Alan Carmichael
                                      1748 Old Buckroe Road
                                      Hampton, Virginia (23664}
                                      (757) 850-2672 (LL) (757) 320-2220 (c)
                                      david@freedomministries.life




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                         CERTIFICATE OF SERVICE


       I, David Alan Carmichael, certify that I served to the U.S. District Court,
 District of Columbia, in the case of Carmichael, et al., v. Pompeo, et al., case no.
 1:19-CV-02316, the "Notice of Appeal" in regard to William Mitchell Pakosz. I
 served the court and parties at:
      Clerk, United States Court of Appeals
      333 Constitution Avenue, N.W.
      Washington, DC 20001                 (CM/ECF)
      David James Byerley
      U.S. Department of Justice
      (DOJ) Civil Division, Office of Immigration Litigation
      PO Box 868, Ben Franklin Station
      Washington, DC 20044-0868           (Electronically)
      United States Attorney
      United States Attorney's Office
      c/o Stephen DeGenaro
      601 D. Street, N.W.
      Washington, D.C. 20530                 (CM/ECF)
      Michelle Boulton
      8491 Hospital Dr., #178
      Douglasville, Georgia 30134-2412       (Electronically)
      Lawrence Donald Lewis
      966 Bourbon Lane
      Nordman, Idaho 83848                   (Electronically)
      William Mitchell Pakosz c/o Rick Hollingsworth
      14930 Greenbrier Lane
      Homer Glen, Illinois 60491           (Electronically)
      David Alan Carmichael
      1748 Old Buckroe Road
      Hampton, Virginia 23664                 (Self)

I certify under the penalty of perjury under the laws of the United States of
America, that the foregoing is true.

(s) David Alan Carmichael                    May 22, 2023
David Alan Carmichael
1748 Old Buckroe Road
Hampton, Virginia 23664



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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

DAVID ALAN CARMICHAEL, et al.,                :
                                              :
       Plaintiffs,                            :      Civil Action No.:     19-2316 (RC)
                                              :
       v.                                     :      Re Document Nos.:     140, 143
                                              :
ANTONY J. BLINKEN, Secretary of State,        :
et al.,                                       :
                                              :
       Defendants.                            :

                                         ORDER

 GRANTING DEFENDANTS’ MOTION TO DISMISS; DENYING PLAINTIFFS’ MOTION FOR LEAVE
                          TO AMEND THE COMPLAINT

       For the reasons stated in the Court’s Memorandum Opinion separately and

contemporaneously issued, Defendants’ motion to dismiss (ECF No. 140) is GRANTED and

Plaintiffs’ Motion for Leave to Amend the Complaint (ECF No. 143) is DENIED. It is hereby

ORDERED that this action is DISMISSED WITH PREJUDICE.

       SO ORDERED.


Dated: March 20, 2023                                         RUDOLPH CONTRERAS
                                                              United States District Judge




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

DAVID ALAN CARMICHAEL, et al.,                    :
                                                  :
       Plaintiffs,                                :      Civil Action No.:       19-2316 (RC)
                                                  :
       v.                                         :      Re Document Nos.:       140, 143
                                                  :
ANTONY J. BLINKEN, Secretary of State,            :
et al.,                                           :
                                                  :
       Defendants.                                :

                                  MEMORANDUM OPINION

 GRANTING DEFENDANTS’ MOTION TO DISMISS; DENYING PLAINTIFFS’ MOTION FOR LEAVE
                          TO AMEND THE COMPLAINT

                                      I. INTRODUCTION

       Plaintiffs David Alan Carmichael and Lawrence Donald Lewis bring this case against

Defendants Antony J. Blinken, in his official capacity as Secretary of State, and the U.S. State

Department (“Defendants”) regarding Plaintiffs’ attempts to obtain passports without providing

social security numbers. Plaintiffs assert that identifying with a social security number is

prohibited by their Christian faith and requested religious accommodations. After nearly four

years of litigation, Plaintiffs have now received valid passports from Defendants without having

to provide them their social security numbers. Yet they still refuse to take Defendants’ “yes” for

an answer. Defendants move to dismiss this case as moot. For the reasons explained below, the

Court will grant the motion.

                                      II. BACKGROUND

       The Court assumes familiarity with the facts of this long-running dispute. See

Carmichael v. Blinken (“Carmichael II”), No. 19-cv-2316, 2022 WL 888177, at *1–3 (D.D.C.

Mar. 25, 2022); Carmichael v. Pompeo (“Carmichael I”), 486 F. Supp. 3d 360, 365–66 (D.D.C.




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2020). This Opinion picks up where Carmichael II left off. In Carmichael II, the Court

considered Defendants’ motion to dismiss Plaintiffs’ remaining three causes of action: the

Religious Freedom Restoration Act (“RFRA”), the Fifth Amendment, and the Privacy Act.

Carmichael II, 2022 WL 888177, at *1. Defendants argued that these claims were moot. Id. at

*11. The Court, however, found that Defendants had not met their burden to show mootness. Id.

at *11–12. With respect to Mr. Lewis, Defendants argued that they had granted Mr. Lewis’s

request to obtain a passport without providing his social security number. But Defendants still

required Mr. Lewis to submit a photograph taken within six months of the issue date. Id. at *11.

Mr. Lewis, however, maintained that his photograph only needed to be taken within six months

of the application date, and the photograph that he already submitted satisfied this requirement.

Id. The Court noted that the sources Defendants relied on did not appear to support their position

concerning the photograph, and thus “the source of Defendants’ insistence on requiring an

updated photograph for Lewis—and, therefore, one of the roadblocks to Lewis receiving his

passport—[wa]s unclear.” Id.

       With respect to Mr. Carmichael, Defendants argued that because they had mailed Mr.

Carmichael a replacement passport (without asking for his social security number) during the

Court-ordered remand period that occurred in between Carmichael I and Carmichael II, the issue

was moot. Id. at *12. But Mr. Carmichael declined to accept and sign the replacement passport;

he argued that Defendants should have voided the cancellation of his original passport rather

than issue him a replacement passport. Id. He appeared to argue that Defendants’ “regulations

only allow replacement passports for certain reasons that are not applicable to him.” Id.

Because “Defendants’ briefs d[id] not address the propriety of issuing Carmichael a replacement

passport rather than voiding the cancellation” of the original passport, the Court could not be




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sure that the dispute was moot. Id. If, “hypothetically,” the replacement passport was the

product of “an obviously invalid process,” then Mr. Carmichael would still have a live claim. Id.

Although the Court found that Defendants had not shown that Plaintiffs’ claims were moot, it

noted that “it appears that Defendants have all intentions of providing Plaintiffs passports

without Plaintiffs providing social security numbers and there may be an opportunity to resolve

this issue without further litigation.” Id. Thus, the Court ordered Defendants to “reevaluate their

positions on the appropriate ways, consistent with federal law and regulations, to get Plaintiffs

their passports” and also ordered the parties to file a joint status report within 60 days of the

opinion. Id.1 Now, having taken further actions with respect to Mr. Lewis and Mr. Carmichael,

Defendants once again move to dismiss Plaintiffs’ claims as moot.

                                    III. LEGAL STANDARD

       Federal courts have subject-matter jurisdiction where a claim “arises under” federal

law. Merrell Dow Pharm. Inc. v. Thompson, 478 U.S. 804, 808 (1986). “Rule 12(b)(1) presents

a threshold challenge to the Court’s jurisdiction . . . [and] the Court is obligated to determine

whether it has subject-matter jurisdiction in the first instance.” Curran v. Holder, 626 F. Supp.

2d 30, 32 (D.D.C. 2009) (quoting Agrocomplect, AD v. Republic of Iraq, 524 F. Supp. 2d 16, 21

(D.D.C. 2007)). Subject-matter jurisdiction cannot be waived, and “[w]hile pro se complaints



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         In Carmichael II, the Court agreed with Defendants that Plaintiffs failed to plead
damages because RFRA and the Fifth Amendment do not waive sovereign immunity for
damages and Plaintiffs did not plead any connection between the alleged Privacy Act violations
and damages. Id. at *12–14. And the Court declined to consider Plaintiffs’ due process claim
because there was no remaining claim for damages and there was a nontrivial chance that the
parties could resolve the equitable relief issue without further litigation. Id. at *12.
        Plaintiffs subsequently appealed this decision to the D.C. Circuit, which (as relevant
here) dismissed their appeal because Mr. Carmichael’s equitable claim remained pending in this
Court and therefore the order on review was not an appealable final order. See Carmichael v.
Blinken, No. 22-5143, 2022 WL 3568058, at *1 (D.C. Cir. Aug. 11, 2022).


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are held to a less stringent standard than other complaints, even a pro se plaintiff [ ] bears the

burden of establishing that the Court has subject matter jurisdiction.” Id. at 33 (citations and

internal quotations omitted); see also Jathoul v. Clinton, 880 F. Supp. 2d 168, 170 (D.D.C. 2012)

(“To survive a motion to dismiss under Rule 12(b)(1), Plaintiff bears the burden of proving that

the Court has subject-matter jurisdiction to hear her claims.”). To evaluate “a motion to dismiss

under Rule 12(b)(1), [courts] must treat the complaint's factual allegations as true . . . [granting]

plaintiff the benefit of all inferences that can be derived from the facts alleged.” Clinton, 880 F.

Supp. 2d at 169 (internal quotations omitted) (quoting Sparrow v. United Air Lines, Inc., 216

F.3d 1111, 1113 (D.C. Cir. 2000)). Courts are not required to accept “legal conclusion[s]

couched as factual allegations[s]” as true. Id. (quoting Trudeau v. Fed. Trade Comm'n, 456 F.3d

178, 193 (D.C. Cir. 2006)).

       To invoke federal jurisdiction, a plaintiff must demonstrate the existence of an actual and

concrete dispute. United States v. Sanchez-Gomez, 138 S. Ct. 1532, 1537 (2018). If, at any

point before or during the proceedings, the case becomes moot, then such a case is no longer

within the jurisdiction of the federal courts. Id. The D.C. Circuit has explained that “[f]ederal

courts lack [subject matter] jurisdiction to decide moot cases because their constitutional

authority extends only to actual cases or controversies.” Larsen v. U.S. Navy, 525 F.3d 1, 4

(D.C. Cir. 2008) (quoting Iron Arrow Honor Soc’y v. Heckler, 464 U.S. 67, 70 (1983)); see

also Church of Scientology of Cal. v. United States, 506 U.S. 9, 12 (1992) (noting that a court

has “no authority to give opinions upon moot questions or abstract propositions, or to declare

principles or rules of law which cannot affect the matter in issue in the case before it”) (citations

omitted)). A case becomes constitutionally moot “when the issues presented are no longer live

or the parties lack a legally cognizable interest in the outcome,” Conservation Force, Inc. v.




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Jewell, 733 F.3d 1200, 1204 (D.C. Cir. 2013), or when “intervening events make it impossible to

grant the prevailing party effective relief,” Lemon v. Geren, 514 F.3d 1312, 1315 (D.C. Cir.

2008) (quoting Burlington N. R.R. Co. v. Surface Transp. Bd., 75 F.3d 685, 688 (D.C. Cir.

1996)). “Corrective action by an agency is one type of subsequent development that can moot a

previously justiciable issue.” Nat. Res. Def. Council, Inc. v. U.S. Nuclear Regul. Comm’n, 680

F.2d 810, 814 (D.C. Cir. 1982); see also Theodore Roosevelt Conservation P’ship v. Salazar,

661 F.3d 66, 79 (D.C. Cir. 2011) (finding as moot superseded agency Record of Decision that

had “no current force or effect”). “The initial ‘heavy burden’ of establishing mootness lies with

the party asserting a case is moot.” Honeywell Int’l, Inc. v. Nuclear Regul. Comm’n, 628 F.3d

568, 576 (D.C. Cir. 2010) (citation omitted). The party opposing mootness has the burden of

showing an exception to the mootness doctrine. Id.

                                        IV. ANALYSIS

       In this case, Defendants “have in fact provided passports to Plaintiffs” and thus “the

requests for equitable relief [are] moot because ‘intervening events [have made] it impossible to

grant the prevailing party effective relief.’” Carmichael II, 2022 WL 888177, at *11 (quoting

Lemon, 514 F.3d at 1315–16). With respect to Mr. Lewis, following Carmichael II, Defendants

determined pursuant to their own regulations that they could accept the photograph that he

previously submitted with his application. See 2d Peek Decl. ¶¶ 1–6, ECF No. 140-3.

Accordingly, Defendants mailed a copy of Mr. Lewis’s passport to him and he received it on

June 1, 2022. Ex. 1 to 2d Peek Decl. at 5, ECF No. 140-3. Mr. Lewis’s case is therefore moot.

       The same result holds for Mr. Carmichael. Defendants have now explained that they

adhered to agency procedures by sending Mr. Carmichael a replacement passport rather than

voiding the cancellation of his original passport. 1st Peek Decl. ¶¶ 1–15, ECF No. 140-2. Mr.




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Peek, the Director of Passport Services’ Office of Adjudication at the State Department, stated

that “[u]nder its’ [sic] own regulations and policies, the [State] Department’s only option is to

issue Mr. Carmichael a replacement passport.” Id. ¶ 5. “Pursuant to 22 C.F.R. §§ 51.10 and

51.54(a), the Department ‘may issue a replacement passport . . . [t]o correct an error or rectify a

mistake of the Department.’” Id. ¶ 7. A replacement passport contains an endorsement code that

“links the new, replacement passport (issued with a new passport number) with the old passport

number so that any visa and/or other information associated with the passport holder carries over

to the replacement passport.” Id. ¶ 8. Mr. Peek stated that “[i]t is the Department’s practice to

issue replacement passports in this manner.” Id. ¶ 11. Mr. Peek further explained that “when a

passport has been revoked, the Department notifies other U.S. agencies and foreign countries”;

thus, “voiding the revocation of a passport years after the fact . . . could lead to an individual

being detained or delayed overseas or domestically for travelling on what might be believed is an

invalid and/or revoked passport.” Id. ¶ 14.

       Despite the fact that Defendants issued Mr. Carmichael a replacement passport under

their standard procedures, he still disputes its validity. Mr. Carmichael now avers that the

replacement passport is defective because it “does not comply with the ICAO photograph

instructions.” Pls.’ Combined Response to Defs.’ 3d Mot. to Dismiss (“Opp’n”) at 8, ECF No.

144. But that argument is unavailing because Defendants have already approved the replacement

passport without requiring a new photograph; in fact, they sent this replacement passport to Mr.

Carmichael nearly two years ago. Carmichael II, 2022 WL 888177, at *3. The Court will not

entertain Mr. Carmichael’s attempts to prolong this moot case further by manufacturing new

reasons to reject the relief that Defendants have provided. Because Defendants have taken

“[c]orrective action” and provided Mr. Carmichael a valid passport without requiring his social




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security number, this case is moot. Id. at *9 (quoting Nat. Res. Def. Council, Inc. v. U. S.

Nuclear Regul. Comm’n, 680 F.2d 810, 814 (D.C. Cir. 1982)).

          The Court is not persuaded by Mr. Carmichael that this case meets an exception to

mootness. Mr. Carmichael argues that this case is not moot because he will be “harangued” by

other individuals seeking his assistance who purportedly share similar religious beliefs as he and

are purportedly denied passports by Defendants. Opp’n at 18. Notably, Mr. Carmichael does

not argue that he himself will likely be directly injured by Defendants in the future—nor could

he. Defendants represent that there is no reasonable expectation of future injury to Plaintiffs

because the State Department can accommodate their sincerely-held religious beliefs, “notated in

its records” their accommodation request, and “will reference those notations when adjudicating

any future passport applications.” Defs.’ Mot. to Dismiss at 9, ECF No. 140; Watkins Decl. ¶¶

5–6, ECF No. 99-3. The mere possibility that Defendants’ passport policies may injure other

individuals who are not parties to this suit at some future date is not only purely speculative but

also legally insufficient to save this case from mootness. See City of Houston v. Dep’t of Hous.

& Urb. Dev., 24 F.3d 1421, 1429 (D.C. Cir. 1994) (“[T]his circuit’s case law provides that if a

plaintiff’s specific claim has been mooted, it may nevertheless seek declaratory relief forbidding

an agency from imposing a disputed policy in the future, so long as the plaintiff has standing to

bring such a forward-looking challenge and the request for declaratory relief is ripe.” (emphasis

added)); accord Del Monte Fresh Produce Co. v. United States, 570 F.3d 316, 321 (D.C. Cir.

2009).2



          The Court denies Plaintiffs’ motion for leave to amend the complaint, ECF No. 143.
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This would-be third amended complaint comes too late in the game, nearly four years into this
litigation after the original claims had become moot and the case was at its end, and thus would
prejudice Defendants. See Mowrer v. U.S. Dep’t of Transportation, 14 F.4th 723, 732 (D.C. Cir.
2021). In addition, Plaintiffs’ motion failed to comply with the Local Rules because they did not


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                                       V. CONCLUSION

       For the foregoing reasons, Defendants’ Motion to Dismiss (ECF No. 140) is granted and

Plaintiffs’ Motion for Leave to Amend Complaint (ECF No. 143) is denied. This action is

dismissed with prejudice. An order consistent with this Memorandum Opinion is separately and

contemporaneously issued.


Dated: March 20, 2023                                               RUDOLPH CONTRERAS
                                                                    United States District Judge




provide a copy of the proposed amended complaint. See Local Civil Rule 15.1 (“A motion for
leave to file an amended pleading shall attach, as an exhibit, a copy of the proposed pleading as
amended.”); IMAPizza, LLC v. At Pizza Ltd., 965 F.3d 871, 876 (D.C. Cir. 2020) (holding that
district court did not abuse discretion in denying leave to amend for failure to follow this rule).


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